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 1   MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
 2
     Sacramento, CA 95814
 3   (916) 447-1920
     Mike.Long.Law@msn.com
 4
     Attorney for CLARISA ANG
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,    ) No. CR-S-08-318 LKK
 8
                     Plaintiff,       )
 9                                    ) STIPULATION AND
          v.                          ) ORDER TO CONTINUE SURRENDER
10                                    ) DATE FOR CLARISA ANG
     CLARISA ANG,                     )
11
                                      )
12
                     Defendant.       )
     ================================) Judge: Hon. Lawrence K. Karlton
13
             It is hereby stipulated between the parties, Assistant United States Attorney Robert Tice-
14

15
     Raskin, and Michael Long, attorney for CLARISA ANG, that CLARISA ANG’s presently set

16   surrender date of May 24, 2013, should be continued until December 1, 2013.
17           (1) The requested modification of her turn-in date is due to the deteriorating health of her
18
     husband and co-defendant Cris Ang. The court addressed Mr. Ang’s request for a modification of
19
     his own sentence due to the same health concerns (See ECF documents 387, 388, 389 and 391).
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     Mrs. Ang is employed and her employment provides medical coverage for both her and Mr. Ang.
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22   Due to his failing health, Mr. Ang is no longer able to be employed or financially support himself.

23   Mr. Ang is presently scheduled to undergo several surgeries. When Ms. Ang surrenders herself she
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     will lose her job and her health coverage will then terminate. If Mrs. Ang is no longer employed,
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     Mr. Ang will no longer have any medical coverage and he will not be able to pay for any private
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     health care.
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 1          (2) Mr. Ang is no longer able to drive a car – the license was suspended due to his health
 2
     condition. Ms. Ang drives him to his medical appointments. Ms. Ang also takes care of Mr. Ang
 3
     on a day-to-day basis, including monitoring and administering his medications.
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            We respectfully request that the court order that the presently set surrender date of May 24,
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 6   2013, be continued until December 1, 2013, at 12:00 p.m.

 7   Dated: April 23, 2013                                Respectfully submitted,
 8
                                                          /s/ Michael D. Long__________
 9                                                        MICHAEL D. LONG
                                                          Attorney for Clarisa Ang
10
     Dated: April 23, 2013                                BENJAMIN WAGNER
11
                                                          United States Attorney
12
                                                          /s/ Robert Tice-Raskin____
13                                                        ROBERT TICE-RASKIN
                                                          Assistant U.S. Attorney
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              Case 2:08-cr-00318-DAD Document 399 Filed 05/06/13 Page 3 of 3


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     Sacramento, CA 95814
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                            IN THE UNITED STATES DISTRICT COURT
 5
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
     THE UNITED STATES OF AMERICA,               ) No. CR-S-08-318 LKK
 7                   Plaintiff,                  )
                                                 ) ORDER
 8
            v.                                   )
 9                                               )
     CLARISA ANG,                                )
10                                               ) Judge: Hon. Lawrence K. Karlton
                     Defendant.                  )
11
     ================================)
12
            UPON GOOD CAUSE SHOWN and the stipulation of the parties, it is ordered that the
13
     Bureau of Prisons surrender date for CLARISA ANG, presently set for May 24, 2013, at FCI-
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     Dublin be continued to December 1, 2013, at 12:00 p.m. at FCI-Dublin.
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16   Dated: May 6, 2013
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